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13
                              UNITED STATES DISTRICT COURT
14
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     UNITED STATES OF AMERICA,                       Case No. 2:21-cr-00491-SB
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                 Plaintiff,                          GOVERNMENT’S SUPPLEMENTAL
17                                                   BRIEF IN SUPPORT OF JOINT
                        v.                           MOTION IN LIMINE NO. 1:
18                                                   GOVERNMENT’S MOTION TO
     JEFFREY FORTENBERRY,                            EXCLUDE IMPROPER ARGUMENT
19                                                   RE: MATERIALITY
                 Defendant.
20                                                   Hearing Date:     2/17/2022
                                                     Hearing Time:     8:30 a.m.
21
                                                     Indictment: 10/19/2021
22                                                   Pretrial Conference: 3/8/2022 at 8:00 a.m.
                                                     Trial: 3/15/2022 at 8:00 a.m.
23
24
25         Plaintiff United States of America, by and through its counsel of record, the
26   United States Attorney for the Central District of California and Assistant United States
27   Attorneys Mack E. Jenkins, Susan S. Har, and J. Jamari Buxton, hereby files the
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 1   government’s supplemental brief in support of Joint Motion in Limine No. 1 to Preclude
 2   Improper Argument Regarding Materiality (Dkt. No. 95). The Court directed the
 3   government to file a specific offer of proof regarding its anticipated evidence of actual
 4   influence at the hearing on February 11, 2022. (See Dkt. No. 117.)
 5
 6    Dated: February 15, 2022                 Respectfully submitted,
 7                                             TRACY L. WILKISON
                                               United States Attorney
 8
                                               SCOTT M. GARRINGER
 9                                             Assistant United States Attorney
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10
11                                                 /s/
                                               SUSAN S. HAR
12                                             MACK E. JENKINS
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13                                             Assistant United States Attorneys
14                                             Attorneys for Plaintiff
                                               UNITED STATES OF AMERICA
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 1                          GOVERNMENT’S OFFER OF PROOF
 2         At the hearing on February 11, 2022, the Court directed the government to file a
 3   specific offer of proof regarding the government’s anticipated evidence at trial of actual
 4   influence on the Federal Investigation caused by defendant’s false or misleading
 5   statements and defendant’s omissions and to propose what it believed appropriate cross-
 6   examination would look like in order to ensure a fair presentation of “actual influence,”
 7   consistent with Federal Rules of Evidence 401 and 403.
 8         The government intends to elicit at least the below testimony regarding the
 9   following decisions that were made, and steps that were taken, as part of the Federal
10   Investigation due to defendant’s false and misleading statements, or omissions of facts:
11         1. During the March 2019 interview in Nebraska, defendant falsely denied
12            receiving money from Gilbert Chagoury and misleadingly claimed “there was a
13            comment that we would have to ask Gilbert along the way, but I don’t know
14            what that exactly meant.” During the June 2019 interview in Washington D.C.,
15            defendant denied that Individual H told him that Toufic Baaklini gave
16            Individual H $30,000 cash to fund the 2016 Fundraiser, and misleadingly
17            stated that would have been “horrifying.” During both interviews, defendant
18            falsely denied knowing anything about illegal foreign or conduit contributions
19            to him, including through Baaklini and Chagoury.
20                   a. Actual Influence: As a result, federal investigators conducted
21                      interviews of defendant (the second interview), Toufic Baaklini,
22                      Gilbert Chagoury, and Andrew Doran (a close associate of Baaklini
23                      and Drew Bowling, defendant’s former staffer), and attempted to
24                      interview Drew Bowling (defendant’s former staffer and a member of
25                      In Defense of Christians). Federal investigators took these steps to
26                      investigate defendant’s motive to lie, including whether there was a
27                      corrupt relationship between defendant and Baaklini and defendant
28                      and Chagoury, whether either side sought to develop a corrupt
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 1                    relationship, and whether defendant knew about the illicit
 2                    contributions before the June 2018 call with Individual H.
 3        2. During the March 2019 interview in Nebraska, defendant falsely stated the
 4           only people he received money for are on his financial disclosures. Defendant
 5           never amended his FEC reports to disclose Baaklini and Chagoury as the true
 6           contributors to his campaign.
 7                 a. Actual Influence: Federal investigators obtained and reviewed
 8                    defendant’s FEC filings, including his amended reports, from 2016 to
 9                    2020. Federal investigators also attempted to interview Stephen
10                    Ralls, defendant’s treasurer. Federal investigators took these steps to
11                    investigate the veracity of defendant’s statements and of the
12                    information in his FEC filings.
13        3. During the June 2019 interview in Washington D.C., defendant misleadingly
14           claimed that everything about the 2016 Fundraiser was standard procedure.
15                 a. Actual Influence: Federal investigators interviewed Alexandra
16                    Kendrick to investigate the veracity of defendant’s statement.
17        4. During the March 2019 interview in Nebraska, defendant omitted information
18           that he spoke with an FEC attorney, Jessica Furst Johnson, about his “concern”
19           over the call with Individual H. During the June 2019 interview in Washington
20           D.C., defendant misleadingly suggested that he did the right thing by
21           consulting with Johnson about his “concern.” Defendant falsely claimed that
22           he told Johnson the same thing he told the federal investigators and that he
23           followed her advice to take no action.
24                 a. Actual Influence: Federal investigators interviewed Jessica Furst
25                    Johnson and obtained a copy of the billing invoice for the call to
26                    investigate the veracity of defendant’s statement.
27        5. During the March 2019 interview in Nebraska, defendant omitted information
28           that he spoke his Chief of Staff, Reyn Archer, about his “concern” over the call

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 1            with Individual H. During the June 2019 interview in Washington D.C.,
 2            defendant misleadingly claimed that he consulted with Archer about his
 3            “concern.”
 4                   a. Actual Influence: Federal investigators interviewed Reyn Archer to
 5                      investigate the veracity of defendant’s statement.
 6         6. During the June 2019 interview in Washington D.C., defendant misleadingly
 7            and falsely claimed that he told his aide, Luke Wenz, via email not to pursue
 8            another fundraiser in Los Angeles because of defendant’s “concern” over the
 9            call with Individual H.
10                   a. Actual Influence: Federal investigators interviewed Luke Wenz and
11                      requested and received the referenced email. Federal investigators
12                      took these steps to investigate the veracity of defendant’s statement.
13         7. During the June 2019 interview in Washington D.C. defendant falsely claimed
14            he never had any conversations with Baaklini about any concerns with the
15            2016 Fundraiser.
16                    a. Actual Influence: Federal investigators re-reviewed communications
17                       between Baaklini and defendant, requested and received additional
18                       documents and phone data from Baaklini, and obtained and
19                       reviewed cell-site data for Baaklini and defendant’s phones. Federal
20                       investigators took these steps to investigate the veracity of
21                       defendant’s statements and to identify if there was any indicia of
22                       communications or meetings between Baaklini and defendant that
23                       were inconsistent with defendant’s statement.
24         The government’s proposed scope of permissible cross examination with regard to
25   the foregoing evidence would include: whether (1) the specified decision or activity
26   actually took place; (2) whether the decision to engage in that activity was formed after
27   defendant’s statements (causation); and (3) whether the decision or activity fell within
28   the scope of what the FBI/IRS/USAO were investigating under the Federal Investigation.

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 1         The government maintains that Rules 403 and 401 limit cross examination beyond
 2   these topics and should bar questions about the individual government witness’s
 3   (1) personal motivations within the context of the investigation; (2) political affiliation;
 4   and (3) personal views of defendant. Such inquiries are not relevant to the issue of
 5   materiality (i.e., whether defendant’s false statement had the intrinsic capability to affect
 6   the Federal Investigation) and, even if they had some marginal relevance, lack a good-
 7   faith basis and present a high risk for undue prejudice that substantially outweighs any
 8   minimal probative value. For the same reasons, it would be an unnecessary waste of the
 9   jury’s time.
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